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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT
United States Courts

for the Southem District of Texas
Southern District of Texas FILED

 

 

 

 

JUN - 4 2020
United States of America ) # 2026
v. ) David J. Bradley, Clerk of Court
Siva BROWN Case No. C-20-1208M
)
}
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of June 2, 2020 in the county of Nueces in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21U.8.C. § 841 Knowingly, intentionally, and unlawfully possess with intent to distribute a

controlled substance in Schedule II of the Controlled Substance Act of 1970,
to wit; 62.56 grams, approximate gross wieght, of Methamphetamine.

This criminal complaint is based on these facts:

See Attachment A

@ Continued on the attached sheet.

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Fv

Complainant's signature

Todd A. Beach, Task Force Officer

Submitted by reliable electronic means, sworn to, signature Printed name and title
attested telephonically per Fed.R-Crim.P. 4.1, and probable
cause found:

 

Date: June 4, 2020

 

“ye Judge's signature
City and state: Corpus Christi, Texas Julie K. Hampton
United States Magistrate Judge

 
 

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ATTACHMENT A

On June 2, 2020, at approximately 9:40 am, agents of the Drug Enforcement Administration (DEA) and
officers of the Corpus Christi Police Department (CCPD) initiated surveillance at Executive Inn on Leopard
St. Room 112 and Room 114, Corpus Christi TX., on Siva BROWN. Siva BROWN is a target of a Federal
Investigation for Distribution of Methamphetamine in the Corpus Christi TX area.

On June 2, 2020, at approximately 11:20 am, agents observed a white 2009 Nissan Armanda park near
Rooms 112 and 114. The sole occupant later identified as Elias RODRIGUEZ, exited the vehicle with a
white bag and went to Room 112 and entered the room. At approximately 11:30 am BROWN and
RODRIGUEZ exited. the room and got into the 2009 Nissan Armanda and departed the area. A check of
the 2009 Nissan Armanda registration showed to be expired as of May 2020.

S/O D. Ramos CCPD and S/O C Lynch CCPD conducted a traffic stop on the 2009 Nissan Armanda for the
expired registration..S/O Ramos made contact with driver RODRIGUEZ. S/O Ramos asked for RODRIGUEZ
drivers’ license. RODRIGUEZ only had a Texas ID and informed S/O Ramos that RODRIGUEZ’s driver license
was suspended. S/O Ramos then detained RODRIGUEZ to investigate RODRIGUEZ’s driver’s license status.

S/O Lynch contacted passenger BROWN. S/O Lynch asked BROWN for identification. BROWN did not have
identification. $/O Lynch had BROWN exit the vehicle to investigate identification of BROWN. As BROWN
exited the vehicle, BROWN took two purses from the front passenger seat floor board. S/O Lynch told
BROWN to leave the purses in the vehicle, which BROWN stated “No”. As BROWN exited the vehicle S/O
Lynch smelled an odor of fresh marijuana about BROWN’s person. S/O Lynch took the purses from
BROWN and placed them back on the floorboard where BROWN took the purses from. BROWN was
detained. $/O Lynch deployed K-9 Primo, which K-9 Primo alerted to the purses. S/O Lynch found
approximately 1 pound of marijuana. BROWN was arrested.

S/O Ramos asked BROWN if BROWN had any weapons on her person, which BROWN admitted to having
a handgun and drugs. S/O Ramos retrieved a loaded Smith & Wesson .38 caliber Model 642 from
BROWN, and a check of the firearm showed that the firearm was stolen. S/O Rjasko CCPD arrived on
scene and conducted a search of BROWN and retrieved from BROWN’s front groin area 26.27 grams
A.G.W methamphetamine.

On June 2, 2020, TFO Todd Beach obtained a federal search warrant for Executive Inn on Leopard St. Room
112 and Room 114, Corpus Christi, TX. The warranted was executed at approximately 2:38 pm. Agents
seized 36.29 grams A.G.W. methamphetamine. Agents also found in the rooms numerous small plastic
baggies and scales indicative of narcotic distribution.

The total weight of methamphetamine is 62.56 grams A.G.W. and field tested positive for
methamphetamine.

On June 2, 2020, TFO Beach and SA Suzanne Minnick interviewed BROWN. BROWN admitted that the
methamphetamine was BROWN’s and that BROWN sells/distributes methamphetamine in the Corpus
Christi TX., area.

The amount of methamphetamine seized infers distribution.

TFO Beach contacted AUSA David Paxton who accepted federal prosecution of BROWN.

 

 
